                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

MARY THOMPSON,                                                      §
                                                                    §
                                       Plaintiff,                   §
                                                                    §
                                                                    §   Case No. 4:13-cv-00441
                                                                    §
SAMARA PORTFOLIO MANAGEMENT,                                        §
L.L.C.; LAW OFFICE OF JOSEPH                                        §
ONWUTEAKA, P.C. and JOSEPH                                          §
ONWUTEAKA,                                                          §
                                                                    §
                                       Defendants                   §

                       PLAINTIFF’S MOTION TO DISMISS COUNTERCLAIM

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

         COME NOW Mary Thompson, Counter-Defendant herein, and files this motion to

dismiss the entire counterclaim pursuant to Rule 12(b)(1) and (6), and in support thereof

would show the following:

I.       Introduction

1.       On or about February 11, 2013, Plaintiff filed her Original Complaint, asserting a

claim for distant forum abuse under the Fair Debt Collection Practices Act (“FDCPA”).

See document no. 1.                 Specifically, Plaintiff alleged that Defendants sued her over a

defaulted loan in a Harris County J.P. court, even though she resided in Mount Pleasant

at the time the suit was filed and she did not sign the underlying note in Harris County.

See ¶s 9-11, document no. 1.

2.       On May 3, 2013, Defendant filed its Answer and Counterclaim.                    See document

no. 12.       Defendants’ Counterclaim asserts two claims, one for the recovery of attorney’s

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fees and one for an underlying debt.                                Pursuant to Rule 12(b)(1) and (6),

Plaintiff/Counter-Defendant seeks the dismissal of these claims, as, inter alia, premature

or bereft of any jurisdictional anchor.

II.      Defendants’ counterclaim for attorney’s fees should be dismissed.

3.       On this claim, see ¶ 18, document no. 12, Defendants allege, inter alia, that the

lawsuit is brought for an improper purpose and that it is frivolous.                 While not stated, this

claim appears to be based on either 15 U.S.C. § 1692k(a)(3) or Fed.R.Civ.P. 11.

Section 1692k(a)(3) provides that, “[o]n a finding by the court that an action [under the

FDCPA] was brought in bad faith and for the purpose of harassment, the court may award

to the defendant attorney’s fees reasonable in relation to the work expended and costs.”

15 U.S.C. § 1692k(a)(3).                Rule 11 authorizes courts to award sanctions against parties

and their attorneys for filing pleadings that are presented for an improper purpose such as

harassment, not supported by existing law or by a non-frivolous argument for establishing

new law, or unsupported by evidence.                       Fed.R.Civ.P. 11(a)-(c).

         A.        Claim under 15 U.S.C. § 1692k(a)(3)

4.       To the extent that Defendants are asserting this claim under 15 U.S.C. §

1692k(a)(3), Ms. Thompson seeks dismissal of this claim.                       Specifically, this is a claim

which should be presented by motion at the conclusion of the Plaintiff’s case and not as a

counterclaim.           Taylor v. Frost-Arnett Company, 1998 U.S. Dist. LEXIS 12437, *2-4

(E.D. La. 1998); Ruble v. Madison Capital, Inc., 1997 U.S. Dist. LEXIS 22301, *3-6 (N.D.

Ohio 1997); Chlanda v. Wymard, 1994 U.S. Dist. LEXIS 21317, *2-4 (S.D. Ohio 1994);

Traverso v. Sharinn, 1989 U.S. Dist. LEXIS 19095 (D. Conn. 1989); Hardin v. Folger, 704


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F.Supp. 355, 357 (W.D.N.Y. 1989).                         Contra: Ayres v. National Credit Management

Corporation, 1991 U.S. Dist. LEXIS 5629, *15-16 (E.D. Pa. 1991).

5.       As noted in Taylor, this claim for attorney’s fees is premature at this time.                   The

bad faith and harassment allegations of this count of the counterclaim afford the

Defendants neither a defense to the merits of the case nor provide the Defendants with a

cause of action under the FDCPA.                       Rather, the FDCPA merely provides a means for

seeking an award of attorney’s fees if the Defendants prevail on the merits of the FDCPA

claim and then file a motion for attorney’s fees and prove that the FDCPA action was

brought in bad faith and for the purpose of harassment.                         1998 U.S. Dist. LEXIS 12437,

*3.     Dismissal of this count of the counterclaim would not preclude the Defendants from

filing a motion for attorney’s fees after they prevail on the merits (an outcome deemed

most unlikely by Plaintiff and her counsel).                        Traverso, 1989 U.S. Dist. LEXIS 19095, *3

(“defendant’s counterclaim for attorney’s fees will be dismissed without prejudice to

renew as a motion for attorney’s fees if defendant shall prevail in this action.”).

         B.        Rule 11

6.       Plaintiff/Counter-Defendant seeks dismissal of this claim on the basis that a party

should only raise such a claim by motion, with 21 days’ prior notice.                     As such, this claim,

by the very language of the rule, cannot constitute a counterclaim.                        See Rule 11(c)(1).

Likewise, it is premature as a motion, because the Defendants filed the claim without

providing 21 days’ prior notice.                 Rule 11(c)(2).




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III.      Defendants’ debt counterclaim should be dismissed on jurisdictional
          grounds.

          A.        Standard for Dismissal Under Rule 12(b)(1)

7.        "A case is properly dismissed for lack of subject matter jurisdiction when the court

lacks the statutory or constitutional power to adjudicate the case."                     Home Builders

Association of Mississippi, Inc. v. City of Madison, Mississippi, 143 F.3d 1006, 1010 (5th

Cir. 1998) (internal citation and quotation omitted).               A party attempting to invoke federal

court jurisdiction bears the burden of establishing that jurisdiction.               Langley v. Jackson

State University, 14 F.3d 1070, 1073 (5th Cir.), cert. denied, 513 U.S. 811, 130 L. Ed. 2d

19, 115 S. Ct. 61 (1994).                Dismissal for lack of subject matter jurisdiction "is only proper

when it appears certain that the [counterclaimant] cannot prove any set of facts in support

of [its] claims that would entitle [it] to relief."           McAllister v. Federal Deposit Insurance

Corporation, 87 F.3d 762, 765 (5th Cir. 1996) (internal citation and quotation omitted).

In ruling on this motion to dismiss for lack of subject matter jurisdiction, the court may rely

on (1) the counterclaims alone; (2) the counterclaims supplemented by undisputed facts;

or (3) the counterclaims supplemented by undisputed facts plus the court's resolution of

disputed facts.           McAllister, 87 F.3d at 765 (citation omitted).

B.        There is no basis for supplemental jurisdiction, because the debt
          counterclaim is only permissive.

8.        Since their debt counterclaim, ¶ 19, document 12, is a state law breach of contract

claim, Defendants must demonstrate some independent basis for federal jurisdiction.

Absent federal question and diversity jurisdiction which do not exist, the only remaining

possibility is supplemental jurisdiction under 28 U.S.C. § 1367.                           Supplemental


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jurisdiction is possible under § 1367(a) when the counterclaim is “so related to [the other]

claims in the action . . . that they form part of the same case or controversy under Article III

of the United States Constitution.”

9.        Since the elements of a breach of contract claim and a Fair Debt Collection

Practices Act claim are different, a breach of contract counterclaim is generally not

considered a compulsory counterclaim to an FDCPA claim.                   Peterson v. United

Accounts, 638 F.2d 1134, 1137 (8th Cir. 1981); Taylor v. Professional Collection Services,

275 F.Supp.2d 1305, 1306 (D. Nev. 2003); Orloff v. Syndicated Office Systems, 2003

U.S. Dist. LEXIS 15466, * 4-10 (E.D. Pa. 2003); Evans v. American Credit Systems, 2003

U.S. Dist. LEXIS 22433, * 2-5 (D. Neb. 2003); Hart v. Clayton-Parker and Associates, 869

F.Supp. 774, 777-778 (D. Ariz. 1994); Gutshall v. Bailey and Associates, 1991 U.S. Dist.

LEXIS 12153, * 2-6 (N.D. Ill. 1991); Ayres v. National Credit Management Corporation,

1991 U.S. Dist. LEXIS 5629, *2-15 (E.D. Pa. 1991); Leatherwood v. Universal Business

Service Company, 115 F.R.D. 48, 49-50 (W.D.N.Y. 1987).            Likewise, every Fifth Circuit

court known to have addressed this issue has concurred that a breach of contract

counterclaim is not to be considered a compulsory counterclaim to an FDCPA claim.

Jobe v. Alliance Collection Service, 2012 U.S. Dist. LEXIS 128742, *2-10 (N.D. Miss.

2012); Whatley v. AHF Financial Services, LLC, 2012 U.S. Dist. LEXIS 131741, *8-12

(E.D. Tex. 2012), adopted, 2012 U.S. Dist. LEXIS 131749 (E.D. Tex. 2012); Taylor v.

Cavalry Portfolio Services, LLC, 2012 U.S. Dist. LEXIS 1132307, *1-7 (E.D. Tex. 2012);

Hurtado v. TAM Finance Corporation, 2007 U.S. Dist. LEXIS 39758, *3-7 (W.D. Tex.

2007); Barcena v. TAM Finance Corporation, 2007 U.S. Dist. LEXIS 38674 (W.D. 2007).


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10.       In Underwriters at Interest on Cover Note JHB92M10582079 v. Nautronix. Ltd., 79

F.3d 480 (5th Cir. 1996), the Fifth Circuit provided the following test to determine whether

a counterclaim was compulsory:

(1)       whether the issues of fact and law raised by the claim and counterclaim largely are

the same;

(2)       whether res judicata would bar a subsequent suit on defendant's claim absent the

compulsory counterclaim rule;

(3)       whether substantially the same evidence will support or refute plaintiff's claim as

well as the defendant's counterclaim; and

(4)       whether there is any logical relationship between the claim and the counterclaim.

An affirmative answer to any of the four questions indicates the claim is compulsory.               Id.

at 483 n. 2.

11.       Applied to this case, none of these four questions should be answered

affirmatively, and, therefore, it is clear that Defendant’s breach of contract counterclaim is

not compulsory.             Specifically, the factual and legal issues in Plaintiff’s FDCPA complaint

are different from those raised in a breach of contract claim; there is no overlap in proof

between the FDCPA claim, on the one hand, and the breach of contract claim, on the

other hand, other than the existence of a debt; and there is no logical relationship

between the consumer protection claim alleging distant forum abuse and the breach of

contract claim.

12.       Assuming Defendants’ counterclaim is permissive, there is no basis for

supplemental jurisdiction.                   With the amendment of § 1367 in 1990, there is much debate


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about whether the compulsory vs. permissive counterclaim distinction continues to

control the issue of supplemental jurisdiction.              Compare Evans, 2003 U.S. Dist. LEXIS

22433 at * 3, and Hart, 869 F.Supp. at 776, with Crawford v. Equifax Payment Services,

1998 U.S. Dist. LEXIS 15719, *12-18 (N.D. Ill. 1998).               Nevertheless, a number of courts

have found that supplemental jurisdiction does not exist for a breach of contract

counterclaim filed in response to an FDCPA debt collection abuse claim, as here.

Taylor, 275 F.Supp.2d at 1306; Orloff, 2003 U.S. Dist. LEXIS 15466 at * 4-10; Evans,

2003 U.S. Dist. LEXIS 22433 at * 2-5.                    Given the fact that Defendants’ breach of

contract counterclaim is only permissive, Plaintiff asserts it does not form part of the same

“case or controversy” as the underlying FDCPA claim for distant forum abuse.

C.        Even if this Court has discretion to exercise supplemental jurisdiction, it
          should decline to exercise jurisdiction.

13.       Even if this Court has discretion in this matter, Plaintiff asserts that this Court

should decline to exercise such jurisdiction under 28 U.S.C. § 1367(c)(4).                        That

provision provides this Court with discretion to decline the exercise of supplemental

jurisdiction “in exceptional circumstances [when] there are other compelling reasons for

declining jurisdiction.”              In this case, the filing of this counterclaim itself violates the

prohibitions on distant forum abuse set forth in the Fair Debt Collection Practices Act, 15

U.S.C. § 1692i(a)(2) and the Texas Deceptive Trade Practices Act, Tex. Bus. & Com.

Code § 17.46(b)(23)(Vernon’s 2004), because it is being filed in a court other than a court

located in a county or district where Ms. Thompson signed the contract at issue or where

she currently resides.               Thus, Plaintiff asserts that exercising supplemental jurisdiction

on this counterclaim would sanction a violation of the distant forum abuse prohibitions in

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the FDCPA and the DTPA, the very issues raised by the Plaintiff in this lawsuit.

14.       Similarly, a number of courts have refused to exercise supplemental jurisdiction

over a debt collection claim filed by a debt collector in a federal action filed by a plaintiff

under the FDCPA, noting that the exercise of such jurisdiction would have a chilling effect

on persons who might bring FDCPA claims.            Crawford, 1998 U.S. Dist. LEXIS at *

18-19; Taylor, 2012 U.S. Dist. LEXIS 132307 at *5-7; Jobe, 2012 U.S. Dist. LEXIS

128742 at *9-10; Barcena, 2007 U.S. Dist. LEXIS 38674 at *6-11.

15.       Moreover, refusing to exercise supplemental jurisdiction does not mean that

Defendants have no recourse against Plaintiff on its debt claim.            Dismissal of this

counterclaim merely forces Defendants to pursue their breach of contract claim in state

court, presumably in Titus County, the county in which Ms. Thompson currently resides.

All Ms. Thompson asks is that Defendants bring their breach of contract claim in a state

court forum that is not distant.

          WHEREFORE, Counter-Defendant Mary Thompson moves the Court for

dismissal of both counts of Defendants’ counterclaim and for such other and further relief

to which she may be entitled.




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                                                     Respectfully submitted,

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                                                     ATTORNEYS FOR PLAINTIFF




                                             CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the above and foregoing Plaintiff’s

Motion to Dismiss Counterclaim has been forwarded to counsel for Defendants,

electronically or by fax or First Class Mail on this the 24th day of May, 2013:

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                                                     /s/ Richard Tomlinson
                                                     Richard Tomlinson




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